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FOR `I`Hl.`£ DISTR|CT OF MARYLAND-.-_.._LOGGED ~___W~ED

f JOHN vAN DRUFF. f DEC 15 2009 )/
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sw
Vs. 2 SV W'

Civil Action No.: 09- 02907
PN(,` B./\NK. NAT|()NAL ASSOCIA`|`|ON.
Dcfcndant
Notice of Dismissal

As thc Defcndant in the above-captioned case has not yet been served and has not filed an Answcr. the
I’laintii`l`may dismiss this case without a Court ()rder by filing a Nt)tice o|`Dismissal (Rule 4l (a) (4\ )(A)(i))
with the Court. The Plaintif|`, having come to terms with thc Dct`endant enumerated in the attached document
titled "'FULL AND FINAL RELEASE"’ (draftcd on the 19"‘ of Novcmber 2009 and received by the Plaintif`f` on

* the lOm of December 2009), respectfully requests that this case be dismissed in its entirety, with prcjudice.

 

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.lohn Van I)rul`f`. l’ru se
l‘)429 ()lnc_v Mil| Road

DEC 2 l 2009

‘T°”EE"BELY Olnev MD 7083'-’

CLERKU.$.D¢; _ . .. _

. m otsmmo¢iil'§;$`$" Ph. 240.323.3696
' Depuw

Plainlil`l`

 

 

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